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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       Case No. 9:20-MD-2924-ROSENBERG/REINHART

 IN RE: ZANTAC (RANITIDINE)
 PRODUCTS LIABILITY
 LITIGATION,
 _____________________________/

                                     NOTICE OF DISCLOSURE

       In the Court’s prior Notice of Disclosure at docket entry 15, the Court informed the parties that

it would issue another Notice of Disclosure after leadership had been appointed in this case. As

leadership has now been appointed, the Court notifies the parties of the following:

   (1) the undersigned Judge’s daughter is a college student who is interning as a college intern at the

       firm of Williams & Connolly in the summer of 2020. The undersigned’s Chambers has contacted

       the firm and has received assurance that the undersigned’s daughter would not participate in any

       work related to this case.

   (2) The undersigned’s former law clerk, Annie Showalter (2016-2017), is an associate at Williams

       & Connolly. Ms. Showalter was presented to the Court as a member of the defense leadership

       slate and was appointed to the Defense Leadership Development Committee, without the filing

       of objection by any party.

       The Court does not see any conflict of interest. If any party believes that there may be a conflict,

a motion shall be filed consistent with the procedures set forth in PTO #24 (paragraph 10) within seven

(7) days of the date of this Notice. Notice given this 29th day of May, 2020.



                                                     _______________________________
                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE
Copies furnished to Counsel of Record
